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 3                             UNITED STATES DISTRICT COURT
 4                                       DISTRICT OF NEVADA
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 6   UNITED STATES OF AMERICA,                           Case No.: 2:16-cr-00325-JCM-NJK
 7                          Plaintiff,                         Order Setting Hearing
 8   v.                                                            (Docket No. 69)
 9   JAMES MOORE,
10                         Defendant.
11         Pending before the Court is Defendant’s counsel’s motion for a status hearing, which the
12 Court GRANTS. Docket No. 69.
13         IT IS HEREBY ORDERED that the Court sets a hearing on this motion for December 3,
14 2021, at 9:30 a.m., in Courtroom 3C.
15         IT IS FURTHER ORDERED that all counsel must be present in the courtroom.
16         IT IS FURTHER ORDERED that Defendant, who is in custody at the Nevada Southern
17 Detention Center, must be transported to the courtroom to be personally present for the hearing.
18 Prior to and after his transport, Defendant must comply in full with the United States Marshal’s
19 COVID-19 testing and quarantine protocol.
20         IT IS SO ORDERED.
21         DATED: November 22, 2021.
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23                                             NANCY J. KOPPE
                                               UNITED STATES MAGISTRATE JUDGE
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